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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      SUPPLEMENTAL DECLARATION OF
PALO ALTO, et al.,                    JOEL FROST-TIFT (PUBLIC
              Plaintiffs,             COUNSEL) IN SUPPORT OF
                                      PLAINTIFFS’ MOTION FOR A
     v.                               PRELIMINARY INJUNCTION

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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            SUPPLEMENTAL DECLARATION OF JOEL FROST-TIFT
        SUPERVISING ATTORNEY, UNACCOMPANIED CHILDREN’S TEAM,
                           PUBLIC COUNSEL


I, Joel Frost-Tift, make the following statements on behalf of myself and Public Counsel. I certify
under penalty of perjury that the following statement is true and correct pursuant to 28
U.S.C. § 1746.
   1. I incorporate my Declaration in Support of Plaintiffs’ Motion for a Temporary Restraining
      Order and Preliminary Injunction (Dkt. 7-9) as if fully set forth herein.
   2. My name is Joel Frost-Tift, and I am the Senior Supervising Attorney of the Unaccompa-
      nied Children’s Team at Public Counsel, a nonprofit public interest law firm in Los Ange-
      les dedicated to advancing civil rights and racial and economic justice, as well as to ampli-
      fying the power of our clients through comprehensive legal advocacy. Public Counsel is
      one of the primary organizations dedicated to providing legal services to indigent unac-
      companied immigrant children who are released from Office of Refugee Resettlement
      (ORR) custody throughout the greater Los Angeles area.

   3. Public Counsel’s Immigrants’ Rights Project (IRP) is the second-oldest of Public
      Counsel’s eight projects. IRP has over 30 full-time dedicated staff members. Within IRP,
      the UC team is the largest subproject, with 16 staff members, 15 of whom are funded by
      UCP. Without UCP funding, we will be unable to maintain this staffing of the
      Unaccompanied Children’s team at its current level. This loss of staff would have a
      devastating impact on our ability to continue to represent unaccompanied children and on
      morale within IRP and the organization as a whole. In addition, we have been unable to
      take on new cases since the loss of funding, which has had a detrimental effect on
      unaccompanied children in our service area.

   4. We have three hearings for unaccompanied children in the next month who need
      experienced attorneys trained in trauma-informed representation to present their
      humanitarian claims for relief. These children are presenting complicated claims for
      asylum and/or Special Immigrant Juvenile Status before the courts. Their claims touch on
      sensitive subjects such as child abuse, trafficking, and family separation. More often than
      not they do not speak English and have never told a soul about the abuse or mistreatment
      they suffered before coming to the United States. Over months — and in some cases
      years— our attorneys have built up trust and rapport with these children in order to prepare
      for the day they can finally present their story to a judge.




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   5. Public Counsel has long collaborated with pro bono attorneys to assist in providing legal
      services to indigent clients. Our pro bono partners are a cornerstone of our representation
      model and allow us to have a wider impact for the marginalized and underserved
      communities we serve. However, pro bono counsel — no matter how experienced —
      requires mentorship and training, which in turn requires experienced staff. If the UCP
      funding is not restored, we simply cannot rely on pro bono counsel to independently
      adequately represent the 200 unaccompanied children we serve annually.
I declare under penalty of perjury that the foregoing is true and correct.


Executed on the 3 of April 2025, in Los Angeles, California.




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Joel Frost-Tift
Senior Supervising Attorney, Unaccompanied Children’s Team
Public Counsel




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